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            Exhibit C
10/26/2020                           Case
                              Researchers say a2:21-cv-01326              Document
                                                Project Veritas video accusing Ilhan Omar of1-3     Filed
                                                                                             voter fraud was 09/29/21          Page 2 campaign.’
                                                                                                             a ‘coordinated disinformation of 2 - The New York Times
                                      https://nyti.ms/3kTxpKs



Researchers say a Project Veritas video accusing Ilhan Omar of voter fraud was a
ʻcoordinated disinformation campaign.ʼ
The timing of a deceptive video, which accuses Ilhan Omar of voter fraud, indicates that several conservatives, including Donald Trump
Jr., may have known about it in advance.


           By Maggie Astor


Sept. 29, 2020


A deceptive video released on Sunday by the conservative activist James O’Keefe, which claimed through unidentiﬁed sources and
with no veriﬁable evidence that Representative Ilhan Omar’s campaign had collected ballots illegally, was probably part of a
coordinated disinformation effort, according to researchers at Stanford University.

Mr. O’Keefe and his group, Project Veritas, appear to have made an abrupt decision to release the video sooner than planned after The
New York Times published a sweeping investigation of President Trump’s taxes, the researchers said. They also noted that the timing
and metadata of a Twitter post in which one of Mr. Trump’s sons shared the video suggested that he might have known about it in
advance.

Project Veritas had hyped the video on social media for several days before publishing it. In posts ampliﬁed by other prominent
conservative accounts, Mr. O’Keefe teased what he said was evidence of voter fraud, and urged people to sign up at “ballot-
harvesting.com” to receive the supposed evidence when it came out. (None of the material in the video actually proved voter fraud.)

Mr. O’Keefe’s promotional posts had said the video would be released on Monday, but Project Veritas released it on Sunday instead, a
few hours after the publication of The Times’s investigation. The Stanford researchers concluded that this timing was unlikely to be a
coincidence.

“It’s a great example of what a coordinated disinformation campaign looks like: pre-seeding the ground and then simultaneously
hitting from a bunch of different accounts at once,” said Alex Stamos, who led the research team at the Stanford Internet Observatory.

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A version of this article appears in print on , Section A, Page 22 of the New York edition with the headline: Project Veritas Releases Misleading Video, Part of What Experts Call a Coordinated Effort




https://www.nytimes.com/2020/09/29/us/researchers-say-a-project-veritas-video-accusing-ilhan-omar-of-voter-fraud-was-a-coordinated-disinformation-campaign.html                                           1/1
